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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
WILLIAM GUNNAR TRUITT,
                                    Plaintiff,                                 18 CIVIL 8386 (NSR)

                 -against-                                                        JUDGMENT
SALISBURY BANK AND TRUST COMPANY
and SALISBURY BANCORP, INC.,
                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated July 22, 2020, Defendants’ motion for summary

judgment is granted and Plaintiff’s complaint is dismissed; judgment is entered in favor of

Defendants.


Dated: New York, New York
       July 23, 2020



                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
